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 6   Attorneys for Defendants
     DATALLEGRO, INC. and STUART FROST
 7

 8                               UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10   CARY A. JARDIN,                             Case No. 08-CV-1462 IEG (RBB)

11                 Plaintiff,                    DEFENDANTS’ NOTICE OF MOTION
                                                 AND MOTION TO STRIKE PORTIONS
12         v.                                    OF PLAINTIFF’S FIRST AMENDED
                                                 VERIFIED COMPLAINT AND TO
13   DATALLEGRO, INC. and STUART FROST,          DISMISS CERTAIN COUNTS AGAINST
                                                 STUART FROST AND DATALLEGRO,
14                 Defendants.                   INC.
15                                               [DEMAND FOR JURY TRIAL]

16                                               Date: November 7, 2008
                                                 Time: 10:30 a.m.
17                                               Place: Courtroom 1, 4th Floor
18                                               Chief Judge Irma E. Gonzalez
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 1          TO PLAINTIFF CARY A. JARDIN AND TO HIS COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE THAT on November 7, 2008, at 10:30 a.m., in Courtroom 1, 4th

 3   Floor of the above-entitled court before the Honorable Irma E. Gonzalez, Judge presiding, or as

 4   soon thereafter as it may be heard, Defendants DATALLEGRO, INC. and STUART FROST

 5   (“Defendants”), will, and hereby do, respectfully move the Court: (1) to strike paragraphs 9-12

 6   and 18-20 of plaintiff’s First Amended Verified Complaint under F.R.C.P. Rule 12(f); (2) to

 7   dismiss the counts of patent infringement and willful infringement against Stuart Frost under

 8   F.R.C.P. Rule 12(b)(6); and (3) to dismiss the second count of willful infringement against

 9   DATAllegro, Inc. under F.R.C.P. Rule 12(b)(6).

10          This motion is based upon the instant Motion and the supporting Memorandum of Points

11   and Authorities filed concurrently herewith, the Federal Rules of Civil Procedure, the files and

12   records in this action, and any and all matters, materials, and/or citations brought to the attention

13   of the Court at or before the time of its decision on this motion.

14

15   Dated: September 22, 2008                            FISH & RICHARDSON P.C.

16                                                        By: s/Seth M. Sproul
17                                                             Seth M. Sproul
                                                               E-mail: sproul@fr.com
18                                                        Attorneys for Defendants
                                                          DATALLEGRO, INC. AND STUART FROST
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 1                                     CERTIFICATE OF SERVICE
 2            The undersigned hereby certifies that a true and correct copy of the above and foregoing

 3   document has been served on September 22, 2008 to all counsel of record who are deemed to have

 4   consented to electronic service via the Court’s CM/ECF system per Civ LR 5.4(d). Any other

 5   counsel of record will be served by U.S. mail or hand delivery.

 6
                                                         By: s/Seth M. Sproul
 7                                                            Seth M. Sproul
                                                              E-mail: sproul@fr.com
 8                                                       Attorneys for Defendants
 9                                                       DATALLEGRO, INC. AND STUART FROST

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